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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 KRISTI JORDAN,                                                 :
                                          Plaintiff,            :
                                                                :     SCHEDULING ORDER
              -against-                                         :
                                                                :     24 Civ. 7118 (AKH)
                                                                :
 CRUNCH, LLC,                                                   :
                                                                :
                                          Defendant.            :

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ALVIN K. HELLERSTEIN, U.S.D.J.:

        The status conference scheduled for Friday, January 17, 2025 at 10:00 a.m. will

now be held via the following call-in number and access code:

                 Call-in number: 646-453-4442

                 Access code: 297 453 953 #

        Please note the change in access code. To ensure that the call proceeds smoothly

and to avoid disruption, the Court directs those calling in (other than counsel) to mute their

telephones. Additionally, all participants are directed to call in 10 minutes prior to the start of

the conference.

        No later than January 14, 2025, at 12:00 p.m., the parties shall file, via ECF, a joint civil

case management plan. A fillable blank template of the Court’s civil case management plan is

available on the Court’s webpage.
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         Finally, no later than January 14, 2025, at 12:00 p.m., the parties shall jointly

submit to the court (via the email address HellersteinNYSDChambers@nysd.uscourts.gov), a list

of all counsel expected to appear on the record at the conference, along with their contact

information.

                SO ORDERED.

Dated:          January 7, 2025                    _____/s/ Alvin K. Hellerstein________
                New York, New York                     ALVIN K. HELLERSTEIN
                                                       United States District Judge
